

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-70,695-01






EX PARTE ANA WESLENE ROYBAL, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. B01-261 IN THE 198TH JUDICIAL DISTRICT COURT


FROM KERR COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to sixty years' imprisonment.  The Fourth Court of Appeals affirmed her conviction.
Roybal v. State, No. 04-02-00647-CR (Tex. App. - San Antonio, October 1, 2003, no pet).

	Applicant contends, inter alia, that her trial counsel rendered ineffective assistance because
counsel failed to present all the available evidence to support Applicant's insanity defense, and
refused to allow Applicant to testify on her own behalf.  


	Applicant has alleged facts that, if true, might entitle her to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to what evidence counsel had to support
Applicant's insanity defense, and as to what evidence counsel presented at trial.  The trial court shall
make findings as to whether counsel informed Applicant that the decision of whether or not to testify
was ultimately her decision, and as to whether counsel prevented Applicant from testifying despite
her desire to do so.  The trial court shall make findings as to whether the performance of Applicant's
trial attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant. 
The trial court shall also make any other findings of fact and conclusions of law that it deems
relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed: October 15, 2008

Do not publish


